        Case 1:18-cv-00094-DCN Document 1 Filed 02/27/18 Page 1 of 12


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                       UNITED STATES DISTRICT COURT
                               DISTRICT OF IDAHO


ROBERT DORFMAN,                                Case No:
                                  Plaintiff,
                                               CLASS ACTION COMPLAINT
v.
                                               Violation of Telephone Consumer
ALBERTSON’S, LLC, a Delaware
                                               Protection Act (47 U.S.C. § 227 et seq.)
Corporation, doing business in California
as SAV-ON PHARMACY,
                                Defendant.
             Case 1:18-cv-00094-DCN Document 1 Filed 02/27/18 Page 2 of 12


 1         Plaintiff Robert Dorfman (“Plaintiff”) brings this Class Action Complaint on
 2   behalf of himself and all others similarly situated, against Defendant Albertson’s, LLC
 3   doing business in California as “Sav-on Pharmacy” (“Defendant”), and based on personal
 4   knowledge as to allegations involving him, and on information as to all other allegations,
 5   herein states:
 6                                 NATURE OF THE ACTION
 7         1.     This lawsuit is brought as a nationwide consumer class action under the
 8   Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).
 9         2.     On or around June 12, 2017, Plaintiff received the first in a series of a
10   prerecorded artificial voice telephone messages (i.e., classic “robocalls”) from Defendant,
11   soliciting Plaintiff to pick up an “order,” that he never placed, from its pharmacy. After
12   receiving approximately fourteen such calls, on July 10, 2017, Plaintiff called Defendant
13   and asked Defendant to stop calling him.             Despite Plaintiff’s request, Defendant
14   continued to robocall Plaintiff, robocalling him at least seven more times.
15         3.     Plaintiff is not a customer of Defendant’s pharmacy, and did not consent to
16   receiving such any calls. Defendant’s calls were wrong number calls and violate the
17   TCPA. The calls invaded his privacy, disturbed his peace, were a nuisance, and were
18   harassing. Plaintiff is informed and believes that others throughout the United States
19   have received similar robocalls from Defendant.
20                                           PARTIES
21         4.     Plaintiff Robert Dorfman resides in San Diego County, California, and is a
22   citizen of California. Plaintiff is, and at all times mentioned herein was, a “person” as
23   that term is defined in the TCPA at 47 U.S.C. § 153(39).
24         5.     Defendant Albertson’s, LLC is a Delaware corporation that maintains its
25   principal place of business is Boise, Idaho.
26         6.     Defendant operates retail grocery stores named “Albertsons,” and
27   pharmacies inside Albertsons named “Sav-on Pharmacy.”                Defendant distributes,
28   markets, and sells pharmaceutical and retail consumer products throughout the United

                                                    -1-
                                    CLASS ACTION COMPLAINT
             Case 1:18-cv-00094-DCN Document 1 Filed 02/27/18 Page 3 of 12


 1   States. Defendant is, and at all times mentioned herein was, a “person” as that term is
 2   defined by 47 U.S.C. § 153(39).
 3                                   JURISDICTION AND VENUE
 4         7.     This Court has original jurisdiction over Defendant and the claims set forth
 5   below pursuant to 28 U.S.C. § 1331 because this action arises from a violation of the
 6   Telephone Consumer Protection Act, 47 U.S.C. § 227.
 7         8.     This Court has personal jurisdiction over Defendant because Defendant
 8   maintains its principal place of business in this District.
 9         9.     Venue is appropriate under 28 U.S.C. § 1391(b) because Defendant
10   maintains its principal place of business in this District.
11                                   FACTUAL ALLEGATIONS
12         10.    Plaintiff is the subscriber of a wireless telephone number ending in “0000.”
13         11.    Plaintiff is not a customer of Defendant’s pharmacy and has not given
14   consent to receive the calls.
15         12.    Between around June 12, 2017 and October 11, 2017, Plaintiff received at
16   least twenty (20) calls on his wireless telephone from Defendant, as captured in messages
17   left on Plaintiff’s voicemail and on his telephone’s caller identification log.
18         13.    Each call was a prerecorded artificial voice call that used a computerized
19   voice and never a natural voice. Fifteen of the messages were in Spanish. Plaintiff does
20   not speak Spanish.
21         14.    On multiple occasions Defendants left the following prerecorded artificial
22   voice message on Plaintiff’s voicemail:
23
                  Hello. This is courtesy call from Sav-on Pharmacy. Our address is
24                9831 Campo Road. We’re calling to let you know your order is ready
                  for pick-up at the pharmacy. If you have any questions, please call us
25
                  at (619) 461-9170. You’ll receive another call the next time your
26                order is ready. Again, this is a courtesy call from Sav-on Pharmacy.
                  Our address is 9831 Campo Road. We’re calling to let you know your
27
                  order is ready for pick-up at the pharmacy. If you have any questions
28

                                                  -2-
                                      CLASS ACTION COMPLAINT
             Case 1:18-cv-00094-DCN Document 1 Filed 02/27/18 Page 4 of 12


 1                please call us at (619) 461-9170. You’ll receive another call the next
                  time your order is ready. Thank you. Goodbye.
 2
 3         15.    The calls that were in Spanish left a similar message.
 4         16.    On or around July 10, 2017, Plaintiff called Defendant’s pharmacy located
 5   on Campo Road in San Diego County. He spoke to a person who identified himself as
 6   “Shawn,” and informed Shawn of the annoying robocalls and requested that Defendant
 7   stop calling and harassing him. Despite this, Plaintiff received at least seven more calls

 8   since the termination request.

 9         17.     On at least one occasion, Defendant called Plaintiff more than once per

10   day, and more than three times in one week.

11         18.    Not one of the messages to Plaintiff included an automated, interactive voice

12   or key press-activated opt-out option enabling Plaintiff to make an opt-out request prior

13   to terminating the call.

14         19.    Not one of the messages included a toll-free number that Plaintiff could call

15   to opt-out of future such calls.

16         20.    Plaintiff has suffered a concrete injury-in-fact, and has a reasonable fear of

17   future injury if the calls do not stop, because the calls invade his privacy, disturb his

18   peace, are intimidating, a nuisance, and are harassing.

19         21.    Plaintiff is informed and believes that other persons throughout the United

20   States have also received such robocalls from Defendant.

21                                       LEGAL OVERVIEW

22         The TCPA

23         22.    The TCPA was enacted in 1991 in response to “[v]oluminous consumer

24   complaints about abuses of telephone technology – for example, computerized calls

25   dispatched to private homes . . . .” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744

26   (2012). Congress specifically found that “telephone subscribers consider automated or

27   prerecorded telephone calls, regardless of the content or the initiator of the message, to be

28   a nuisance and an invasion of privacy.” TCPA, Pub. L. No. 102-243, § 2(10), 105 Stat.

                                                 -3-
                                        CLASS ACTION COMPLAINT
             Case 1:18-cv-00094-DCN Document 1 Filed 02/27/18 Page 5 of 12


 1   2394 (1991).
 2         23.    Accordingly, the TCPA regulates, among other things, the use of artificial
 3   voice or prerecorded telephone calls.          Specifically, the plain language of section
 4   227(b)(1)(A)(iii) prohibits the use of an artificial or prerecorded voice to make any call to
 5   a wireless number in the absence of an emergency or the “prior express consent” of the
 6   called party. 47 U.S.C. § 227(b)(1)(A)(iii).
 7         24.    Whether the “prior express consent” may be oral, or must be in writing,
 8   depends on when the call was made and the nature of the call. See, e.g., In the Matter of
 9   Rules & Regulations Implementing the Telephone Consumer Protections Act of 1991, 27
10   F.C.C. Rcd. 1830 (Feb. 15, 2012) (“2012 FCC Order”).
11         25.    In 2012, the FCC expanded the scope of the TCPA, mandating that
12   telemarketers obtain prior express written consent before placing a marketing call. The
13   2012 FCC Order at ¶ 2 (holding in part, “we: (1) revise our rules to require prior express
14   written consent for all autodialed or prerecorded telemarketing calls to wireless numbers
15   and residential lines and accordingly eliminate the established business relationship
16   exemption for such calls”).
17         26.    The TCPA provides for statutory penalties of between $500 and $1,500 per
18   violation. 47 U.S.C. § 227(b)(3).
19
20                  Wrong Number Calls Are A Stand-Alone Violation of the TCPA
21
22         27.      Defendant’s robocalls to Plaintiff are wrong number calls. “Wrong
23   numbers” are telephone “numbers that are misdialed or entered incorrectly into a dialing
24   system, or that for any other reasons result in the caller making a call to a number where
25   the called party is different from the party the caller intended to reach or the party who
26   gave consent to be called.”     In the Matter of Rules & Regulations Implementing the
27   Telephone Consumer Protections Act of 1991, 30 F.C.C. Rcd. 7961 (July 10, 2015)
28   (“2015 FCC Order”) at ¶ 72 n. 256.

                                                 -4-
                                    CLASS ACTION COMPLAINT
             Case 1:18-cv-00094-DCN Document 1 Filed 02/27/18 Page 6 of 12


 1         28.     The TCPA protects recipients from wrong number robocalls “regardless of
 2   the content of the call.” 2015 FCC Order at ¶ 97 (emphasis added) (denying United
 3   Healthcare Services, Inc.’s request that wrong number healthcare-related calls be immune
 4   from TCPA liability).
 5         29.     Further, it is irrelevant whether the intended recipient of the call provided
 6   consent because “the TCPA requires the consent not of the intended recipient, but of the
 7   current subscriber (or [] customary user of the phone) . . ..” 2015 FCC Order” at ¶ 72.
 8         30.     The “wrong number” called party need not ask for the calls to stop because
 9   “the TCPA places no affirmative obligation on a called party to opt out of calls . . . the
10   TCPA places the responsibility on the caller alone . . ..” Id. at ¶ 81 (citing 47 U.S.C. §
11   227(b)(1)).
12         31.     Wrong number calls using a prerecorded or artificial voice are violations of
13   the TCPA regardless of whether an autodialer is involved.       As the FCC explained the
14   extra protections are warranted because:
15
16         [T]he TCPA does not prohibit calls to reassigned wireless numbers, or any wrong
           number call for that matter. Rather, it prescribes the method by which callers must
17
           protect consumers if they choose to make calls using an autodialer, a prerecorded
18         voice, or an artificial voice. In other words, nothing in the TCPA prevents callers
           from manually dialing. Callers could remove doubt by making a single call to the
19
           consumer to confirm identity. Even if the consumer does not answer, his or her
20         voicemail greeting might identify him or her. Callers can also email consumers to
           confirm telephone numbers. Consumers who receive . . . health-related alerts to
21
           which they have consented, can reasonably be expected to respond to such email
22         requests to inform callers about the number reassignments.
23
24         Id. at ¶ 84 (italics added).
25   Defendant repeatedly robocalled Mr. Dorfman, even after he personally requested the
26   calls stop, demonstrating that Defendant did not have adequate procedures to protect the
27   public from its harassing solicitation calls. Defendant showed wholesale disregard for
28   the TCPA and put its profit interest before its privacy obligations under the TCPA.

                                                 -5-
                                     CLASS ACTION COMPLAINT
             Case 1:18-cv-00094-DCN Document 1 Filed 02/27/18 Page 7 of 12


 1                              CLASS ACTION ALLEGATIONS
 2         32.    Plaintiff brings this Complaint against the Defendant pursuant to Federal
 3   Rule of Civil Procedure 23, on behalf of himself and the following Class:
 4
           All natural persons within the United States who received more than one artificial
 5         voice or prerecorded solicitation telephone call from or on behalf of Defendant
 6         where the number called was misdialed, reassigned, or entered incorrectly into a
           dialing system, and such call occurred within four years prior to the filing of the
 7         Complaint.
 8
 9         33.    Excluded from the class definition are Defendant, its corporate parents,
10   subsidiaries and affiliates, officers and directors, and any entity in which Defendant has a
11   controlling interest, and the legal representatives, successors, or assigns of any such
12   excluded persons or entities. Further excluded are Plaintiff’s counsel and the assigned
13   Judge and the Judge’s family and staff.
14         34.    This suit expressly is not intended to request any recovery for personal
15   injury and claims related thereto.      Plaintiff reserves the right to expand the Class
16   definition to seek recovery on behalf of additional persons as warranted as facts are
17   learned in further investigation and discovery.
18         35.    Numerosity.     The Class members are so numerous and geographically
19   dispersed that joinder of all members is impracticable. While the exact number of Class
20   members is unknown to Plaintiff at this time, Plaintiff is informed and believes, including
21   based on an investigation by counsel, that the proposed class contains hundreds, if not
22   thousands, of members.
23         36.    Existence and Predominance of Common Questions of Law and Fact.
24   The common questions of law and fact, that arise from Defendant’s uniform pattern and
25   practice of prohibited conduct, exist as to all Class members and predominate over
26   questions affecting only individual Class members.          The common legal and factual
27   questions include, but are not limited to, the following:
28                a.    Whether Defendant made prerecorded calls to Plaintiff and the Class

                                                 -6-
                                    CLASS ACTION COMPLAINT
             Case 1:18-cv-00094-DCN Document 1 Filed 02/27/18 Page 8 of 12


 1                        members;
 2                 b.     Whether Defendant made artificial voice calls to Plaintiff and the
 3                        Class members;
 4                 c.     Whether the Defendant made the prerecorded and/or artificial voice
 5                        calls in question with prior express consent;
 6                 d.     Whether Defendant placed wrong number calls;
 7                 e.     Whether the any alleged prior express consent was compliant with the
 8                        TCPA;
 9                 f.     Whether Defendant’s actions were willful;
10                 g.     Whether Defendant can establish a defense to liability;
11                 h.     The amount of statutory damages to be awarded to Plaintiff and each
12                        Class member per violation; and
13                 i.     Whether Defendant should be enjoined from engaging in such
14                        conduct.
15          37.    Typicality. The claims asserted by Plaintiff in this action are typical of the
16   claims of the members of the Classes, as the claims arise from the same course of
17   conduct by Defendant, and the relief sought is common. Plaintiff, like each member of
18   the Class, received at least one prerecorded artificial voice call from Defendant, thus,
19   Plaintiff and the Class members were exposed to virtually identical conduct. Moreover,
20   Plaintiff seeks the same relief as the Class members.
21          38.    Adequacy of Representation. Plaintiff will fairly and adequately represent
22   and protect the interests of the Class members, and he has no conflict of interest with
23   other Class members. Plaintiff has also retained experienced counsel who are competent
24   in multi-party, class, and civil litigation.
25          39.    Plaintiff seeks on behalf of himself and the Class members, on grounds
26   generally applicable to the entire Class: a determination of liability; the maximum
27   statutory damages permitted by the TCPA; and attorneys’ fees and costs.
28          40.    Superiority. A class action is superior to other available methods for the fair

                                                    -7-
                                      CLASS ACTION COMPLAINT
             Case 1:18-cv-00094-DCN Document 1 Filed 02/27/18 Page 9 of 12


 1   and efficient adjudication of this controversy because the likelihood of individual class
 2   members prosecuting separate claims is remote, and individual class members do not
 3   have a significant interest in individually controlling the prosecution of separate actions.
 4   In this action, the statutory damages to which each individual Class member is entitled
 5   are relatively small, and the expense and burden of individual litigation would make it
 6   impracticable for proposed class members to prosecute their claims individually. It
 7   would thus be virtually impossible for the members of the Class, on an individual basis,
 8   to obtain effective redress for the wrongs done to them, thereby allowing Defendant’s
 9   unlawful conduct to continue unabated. Furthermore, even if Class members could
10   afford such individualized litigation, the court system could not: individualized litigation
11   would create the danger of inconsistent or contradictory judgments arising from the same
12   set of facts, and it would increase the delay and expense to all parties and the court
13   system from the issues raised by this action. By contrast, the class action device provides
14   the benefits of adjudication of these issues in a single proceeding, uniformity of decision,
15   and comprehensive supervision by a single court, and it presents no unusual management
16   difficulties under the circumstances here.
17
                                  FIRST CAUSE OF ACTION
18               Negligent Violations of the Telephone Consumer Protection Act
19                                    (47 U.S.C. § 227 et seq.)
20         41.    Plaintiff incorporates by reference each of the above paragraphs of this
21   Complaint as though fully stated herein.
22         42.    Defendant’s foregoing acts and omissions constitute numerous and
23   multiple negligent violations of the TCPA, including but not limited to each one of the
24   above-cited provisions of 47 U.S.C. § 227 et seq. and the 2015 FCC Order.
25         43.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
26   Plaintiff and the Class members are entitled to an award of $500.00 in statutory
27   damages for each violation, pursuant to 47 U.S.C. § 227(b)(3)(B). Plaintiff and the
28   Class members are also entitled to and seek injunctive relief prohibiting such conduct in

                                                  -8-
                                    CLASS ACTION COMPLAINT
             Case 1:18-cv-00094-DCN Document 1 Filed 02/27/18 Page 10 of 12


 1   the future.
 2         44.      Plaintiff and the Class members are also entitled to an award of attorneys’
 3   fees and costs.
 4
                             SECOND CAUSE OF ACTION
 5       Knowing and/or Willful Violation of the Telephone Consumer Protection Act
 6                                      (47 U.S.C. § 227 et seq.)
 7         45.      Plaintiff incorporates by reference each of the above paragraphs of this
 8   Complaint as though fully stated herein.
 9         46.      Defendant’s calls to Plaintiff and the Class members constitute numerous
10   violations of the provisions of the TCPA, including 47 U.S.C. §§ 227(b)(1)(A)(iii) and
11   227(b)(1)(B) and the 2015 FCC Order.
12         47.      Defendant’s use of a prerecorded artificial voice in making the calls at issue,
13   and even after Plaintiff requested they stop, demonstrates that Defendant willfully called
14   Plaintiff and the Class members without ensuring compliance with the TCPA and the
15   2015 FCC Order.
16         48.      As a result of Defendant’s violations of the TCPA, Plaintiff and the
17   nationwide TCPA class are entitled to injunctive relief, as well as an award of $500.00 to
18   $1,500 in statutory damages for each and every violation, pursuant to 47 U.S.C.
19   § 227(b)(3).
20
21                                     PRAYER FOR RELIEF
22   WHEREFORE, PLAINTIFF PRAYS FOR A JUDGMENT:
23         A.       Certifying this case as a class action to afford the putative Class members
24                  the procedural benefit of the class action device and to avoid the multiplicity
25                  of individual actions;
26         B.       Certifying Plaintiff as the class representative, and certifying his attorneys,
27                  Deval Zaveri of Zaveri Tabb, APC, and Todd Carpenter of Carlson, Lynch,
28                  Sweet, Kilpela & Carpenter, LLP as Counsel for the Class;

                                                  -9-
                                      CLASS ACTION COMPLAINT
          Case 1:18-cv-00094-DCN Document 1 Filed 02/27/18 Page 11 of 12


 1       C.    Awarding Plaintiff and the nationwide TCPA class members injunctive
 2             relief;
 3       D.    Awarding Plaintiff and the nationwide TCPA class members maximum
 4             statutory damages, including the trebling of damages for Defendant’s willful
 5             violations, as permissible pursuant to 47 U.S.C. § 227(b)(3);
 6       E.    Awarding Plaintiff and the Class members pre-judgment and post-judgment
 7             interest;
 8       F.    Awarding Plaintiff and the Class members attorneys’ fees and costs; and
 9       G.    Awarding Plaintiff and the Class members such other and further relief as
10             may be appropriate.
11   /
12                                     JURY DEMAND
13       49.   Plaintiff requests trial by jury of all claims that can be so tried.
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                                              - 10 -
                                  CLASS ACTION COMPLAINT
           Case 1:18-cv-00094-DCN Document 1 Filed 02/27/18 Page 12 of 12


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                                          - 11 -
                                CLASS ACTION COMPLAINT
